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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       April 10, 2018
BY ECF

The Honorable Katherine B. Forrest
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Chi Ping Patrick Ho,
               17 Cr. 779 (KBF)

Dear Judge Forrest:

        The Government respectfully writes in regard to the conference scheduled for Friday, April
13 at 12:30 p.m. in the above-referenced matter. Because there are no discovery issues or other
matters requiring attention at this time, the parties jointly request that this conference be adjourned
to a date approximately two months away, and we understand from Your Honor’s deputy that the
Court is available on June 1, 2018 at 1:00 p.m. The Government further requests that the Court
exclude time through June 1, 2018, in the interests of justice, to allow for the continued production
and review of discovery, and for the preparation of motions and responses thereto. The defendant
consents to this request.
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Honorable Katherine B. Forrest
United States District Judge
April 10, 2018
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                                  Respectfully submitted,

                                  GEOFFREY S. BERMAN
                                  United States Attorney

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cc:    (by ECF)

       Counsel of Record
